Case 2:16-cv-08529-EEF-.]CW Document 1 Filed 06/06/16 Page 1 of 9

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

wILLlAM HAMPTON sTEWART, JR. CIVIL ACTION
vERSUs _ No.~

MARK E. JENSEN, li)li)s, NATIoNAL UNIoN JUI)GE=

FIRE INSURANCE CoMPANY oF

PITTSBURGH, PA AND

sLIDELL DENTAL AssoCIATEs, LLC D!B;A MAGISTRATE=

LOUISIANA DENTAL CENTER
JURY TRIAL REQUESTED

se**sue-J¢9¢=»¢***-:H'¢sew9¢\;¢**-.»'¢='<=\-9¢**s¢sue********************w>t-s¢*
COMPLAINT FOR DAMAGES

TO THE HONORABLE UNITED STATES DISTRICT C()URT FOR THE EASTERN
DISTRICT OF L()UISIANA AND THE JUI)GES THEREOF:

rI`he Cornplaint of William Hampton Stewart, a person of majority age, With respect
represents:
l.
Plaintil`f, William Hampton Stewart_1 Jr. (“Stewart”) was, at all relevant times, of full age
and is a resident and citizen of the State of Mississippi.
2.
Made defendant herein is Mark E. Jensen, DDS ("Jensen”), upon information and beliet`._
a person of the full age of majority, a licensed dentist by the State ol`Louisiana, who Was
practicing dentistry in Louisiana at all relevant times, and is a resident and citizen of the State of

Tennessee.

Case 2:16-cv-08529-EEF-.]CW Document 1 Filed 06/06/16 Page 2 of 9

3.

Made defendant herein is National Union Fire lnsurance Cornpany of Pittsburgh, PA
("National Union”)_. a citizen of the states of Pennsylvania_. New York and Tennessee, doing
business within the jurisdiction of this Colut,)which provides a policy of liability insurance to
defendant, Marl< E. Jensen, DDS, covering the matters sued upon herein_. and said defendant is
directly liable to plaintiff, pursuant to the provisions of the Louisiana Direct Action Statute.

4.

Made defendant herein is Slidell Dental Associates, LLC dfb/'a Louisiana Dental Center
("‘LDC"’), a Louisiana citizen, which, at all relevant times, owned and operated a dental clinic at
1301 Eastridge Drive, Slidell, liouisiana ?0458.

5.

On September 26, 20]3, Stewart presented to LDC and saw Jensen for the first time for a

complete oral evaluation and a cracked right upper front tooth.
6.
At the initial visit, Jensen obtained a Panorex, which showed little or no alveolar bone
loss.
7.
lensen discussed potential treatment options for Stewart’s dental condition.
8.

Stewart returned on December l[}, 2013, at Which time Jensen and Stewart revisited

treatment options_. including performing implant and an implant crown, extracting all maxillary

teeth and doing a permanent denture or placing 2 implants and a removable denture.

Case 2:16-cv-08529-EEF-.]CW Document 1 Filed 06/06/16 Page 3 of 9

9.
On December 12, 2013, Stewart returned with a decision to move forward with extraction
of all upper teeth, placement of 2 implants, and a removable denture.
lO.
On Decernber 30, 2013, Jensen performed an extraction of all maxillary teeth and
placement of two implants.
ll.
Stewart became concerned with the significant swelling to his left cheek and returned to
Jensen on January 6, 2014, before his scheduled follow up appointment
12.
Jensen advised that this was normal swelling and told Stewart to keep packing his face
with ice and taking the prescribed medications
13.
Within a few weeks, Stewart noticed what appeared to him to be stitches inside of his
mouth and his cheek, and sharp pieces of bone sticking out of his gums.
14.
He returned to Jensen on March 19_. 2014 and Jensen noted “Visual, Patient had bone
spicuals on UR." Jensen noted that he attempted to smooth the area.
15.
Over the next several months, Stewart repeatedly returned with problems related to the

surgery performed by Jensen and the failure of the denture.

Case 2:16-cv-08529-EEF-.]CW Document 1 Filed 06/06/16 Page 4 of 9

16.

After months of problems and failed treatment from Jensen and LDC, Stewart sought
another opinion and consulted Dr. Steven Tomaszewski, DDS, whom he saw for the first time on
September 9, 2014.

l?`.

Tomaszewski noted that Stewart was there for a second opinion following care at

Louisiana Dental Center. Tomaszewski noted:

Initial exam: pt in for Z“d opinion following care @ LA Dental. Chief
complaint of pain UL post when wearing /\ overdenture. Explained

tx history @ LA Dental with many problems encountered Doesn’t

like the denture and may seek legal action due to unsatisfactory outcome
My current assessment is that he has lost vestibular space UL due to
attachment of mucosa to crest of ridge. This is making it difficult for him to
open and current denture cannot seat while also creating-a chronic
ulcerativc lesion. Overdenture attaches well to location-type abutments
with good retention. (Photos taken) There are esthetic issues that could be
iinproved. I advised patient to contact LASBD to file formal complaint and
seek further advice regarding taking legal action. Also made referral to
O.S. (Dr. Brown) for consult regarding revision of surgery &
recommended re-make of overdenture. Pt. said he is speaking with

attorney presently and will continue with treatment here because he does not
want to go back to LA Dental.

18.
On September 30, 2014_. Stewart saw an oral surgeon, Dr. Nathan Brown, for initial
evaluation as per Dr. Tomaszewski’s referral Stewart provided a history that he needed an
evaluation of his cheek on the left side and left ridge “for damage” that he had 3 “pemianent

snap in denture" and does not tit because tissue that goes from cheek to gum is “messed up”.

19.

Case 2:16-cv-08529-EEF-.]CW Document 1 Filed 06/06/16 Page 5 of 9

l~le indicated that he did not notice when he was wearing the temporary but states “doctor

sewed my check to my gums” which has been going on for a year.
20.

Dr. Brown obtained a Panorex xray and Cone Beam CT. Dr. Brown’s initial impression
was alveolar atrophy, left sinus perforation, obliterated left vestibule. Dr. Brown explained that
Dr. Jensen perforated the left sinus when he removed Stewart’s teeth and the perforation was
repaired by bringing the tissue over the area from the cheek; he explained the vestibule was
virtually obliterated which makes wearing the denture very difficult; he explained that there was
virtually no bone present in the upper left quadrant.

2 l.

Dr. Brown advised of two potential treatment options: (l) vestibuloplasty or (2) a sinus
lift with placement of bone, which after healing, would allow placement of additional implants to
stabilize a denture.

22.

On October 22, 2014, Dr. Brown met with Stewart to re-discuss treatment options and

cost of the treatment for a 2 stage mandibulari'maxillary reconstruction
23.

On November 13, 2014, Dr. Tomaszewski met with Stewart to discuss restorativc options
once Dr. Brown completed the surgical revisioni'grafting. Dr. 'fomaszewski provided Stewart
with 5 estimates for treatment options

24.
Stewart is now permanently handicapped dentally because the teeth are gone.

Reconstructing Mr. Stewart’s dentition will be extremer difficult due to the absence of alveolar

Case 2:16-cv-08529-EEF-.]CW Document 1 Filed 06/06/16 Page 6 of 9

bone and having to navigate around the sinus membrane and the left upper quadrant that is just
below the oral mucosa with no bony separation in between the oral mucosa and sinus cavity.
25.
Stewart will incur significant expense as described in the records and report of Dr. Brown
as well as the estimates provided by Dr. Tomaszewski.
26.
Stewart’s prognosis is very poor and he will require forever followup by Dr.
Tomaszewski and Dr. Brown.
2'?.
Jensen deviated from the standard of care in connection with his treatment of Stewart
including, but not limited to, the following:

a. The treatment plan presented was unacceptable lt is inappropriate to present a
treatment plan that is unethical as an option.

b. Jensen incorrectly diagnosed the caSe.

c. Jensen did not document the status of the teeth.

d. Jensen did not document the operative procedure in detail.

e. Jensen did not document the complications during surgery or any

communications with the patient.
f. Jensen’s follow up notes were not consistent with the patient’s condition

g. Rcckless surgical technique was employed resulting in unnecessary loss of large
amounts of alveolar bone and formation of a large oral antral listula.

h. Extremely aggressive and unnecessary alveoloplasty was then employed in an
attempt to facilitate repair of this fistula. This resulted in loss of almost 100% of
the posterior alveolar bone bilaterally. This alveolar bone is needed to support and
stabilize the prosthesis that Stewart was prescribed

i. The buccal mucosal advancement flap was employed to cover up the oral antral
communicationl This resulted in obliteration of the vestibule making any

Case 2:16-cv-08529-EEF-.]CW Document 1 Filed 06/06/16 Page 7 of 9

prosthesis that requires tissue support in the upper left quadrant unwearable.
Therefore, it never should have been prescribed.

j. Other methods of oral antra fistula closure could have been employed that likely
would not have resulted in obliteration of the vestibule.

k. An implant-supported overdenture supported by only two implants in the maxilla
is a terrible way to reconstruct the maxillaiy arch. The prognosis for long-term
survival of those implants is poor. The maxillary bone is softer and generally less
dense than the mandibular bone where two implants can be predictably employed
to retain a removable denture prosthesis.

l. The upper teeth should not have been removed in the first place. Extensive
counseling should have been employed regarding the negative sequela
that results from tooth loss and the difficulties created by wearing a complete
denture.

28.

LDC deviated from the standard of care including, but not limited to, the following:

a. Respondear superior in connection with the conduct of Jensen.

b. Failing to exercise reasonable care and due diligence in connection with
contracting with Jensen to perform dental services and failing to insure that he
had the requisite knowledge and skill to perform the dental services for which he

was contracted

c. Failing to exercise reasonable care and due diligence in overseeing or reviewing
Jensen’s work in order to determine that he was providing competent work.

29.

As a result of the foregoing medical negligence by one or both defendants, Stewart has
suffered temporary and permanent disfigurement and disability, pain and suffering, emotional
distress, loss of enjoyment of life and lifestyle, loss of wages and has incurred medical expenses,
all of which will continue.

30.
This matter was considered by a medical review panel on June l, 2016, and the opinion

of the medical review panel was mailed by certified mail as provided by statute on June 3_. 2016

Case 2:16-cv-08529-EEF-.]CW Document 1 Filed 06/06/16 Page 8 of 9

and received by plaintiff s counsel on June 6, 2016. A copy of the opinion and oaths is attached
as Exhibit ""1"`.
31.

Jurisdiction of plaintiffs claims against defendants is based upon 28 U.S.C.§l 332,
diversity jurisdiction of this Court_. as the amount in controversy for plaintiff substantially
exceeds $?5,000.00 exclusive of costs and interest1 and diversity of citizenship exists between
plaintiff and all defendants

32.

Venue is proper because the acts giving rise to plaintiffs claims occurred in this judicial
district.

WHEREFORE, plaintiff, William Hampton Stewart, .lr., prays that this complaint be filed
and that the defendants, Mark E. Jensen, DDS, National Union Fire lnsurance Company of
Pittsburgh__ PA and Slidell Dental Associates, LLC dr'b!a Louisiana Dental Center, be served and
cited to appear and answer same and after all legal delays and due proceedings had, there be
judgment herein in favor of plaintiff and against defendants, Mark E. Jensen, DDS, National
Union Fire lnsurance Company of Pittsburgh, PA and Slidell Dental Associates, LLC dr'bla
l,ouisiana Dental Center, jointly and i_n M, for such damages as are reasonable and just under
the circumstances plus interest from the date that the medical review panel proceeding was
initiated, December 4, 2014, until paid, for all costs of these proceedings, for a trial by jury and

all general and equitable relief.

Case 2:16-cv-08529-EEF-.]CW Document 1 Filed 06/06/16 Page 9 of 9

Respectfully submitted:
LEWIS, KULLMAN, STERBCOW & ABRAMSON

s/s David A. Abramson

DAVID A. ABRAMSON (#21435)
IAN F. TAYLOR (#33408)

601 Poydras Street, Suite 2615
New Orleans_. LA 70130
Telephone: (504)588-1500
Facsimile: (504)588-1514
abramson@lksalaw.coin

itaylorfrillksalaw.eom
Attorneys for plaintiff

 

PLEASE SERVE:

MARK E. .]ENSEN, DDS

'l`hrough the Louisiana Long Arm Statute
Via certified mail return receipt requested to:
361 Cobalt Bay Loop, Apt. 105

Memphis, TN 38103-9052

NATIONAL UNION FIRE INSURANE COMPANY
oF PITTSBURGH, PA

rl`hrough the liouisiana Secretary of State

85 85 Archives Avenue

Baton Rouge, LA ':"0809

And

SLIDELL DENTAL ASSOCIATES D/BfA
LOUISIANA DENTAL CENTER

Through its registered agent for service of process:
loseph R. Lacoste, Jr.

600 N. l'ilighway 190, Suite 200

Covington, LA ?`0443

